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IN THE UNITED sTATE:s DISTRICT cOURT 05 JUN-Q PH ?.h
FOR THE wEsTERN DISTRICT oF TENNESSEE R ` 0
wESTERN DIVISION OBEHT ,
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UNITED STATES OF A.MERICA,
Plaintiff,

v. Cr. No. 04-20312

ARTHUR RUFFIN,

Defendant.

~._/~._»-._.»~__,~_,,`__¢~.._,~__.\.._/~._/

 

ORDER OF REFERENCE

 

Before the Court is the pro se motion of Defendant Arthur
Ruffin requesting new counsel be appointed to represent him in
this case. The motion was filed June B, 2005.

This matter is referred to the United States Magistrate
Judge for determination and for appointment of new counsel, if
appropriate. Any exceptions to the magistrate judge's order
shall be made within ten (10) days of the magistrate judge's
order, setting forth particularly those portions of the order
excepted to and the reasons for the exceptions.

IT IS SO ORDERED THIS DAY OF June, 2005.

mt w

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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UNITED sTATE DISTRIC COURT - WE TER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-203 12 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

